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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                  (SOUTHERN DIVISION)

MARK EKE,                                    *

             Plaintiff,                      *           Civil Action No. PX 18-2941

v.                                           *

UNITED THERAPEUTICS, et al.,                 *

                                             *
             Defendants.
                                          * * *
                                          ORDER

       Pending before this Court is “Defendant United Therapeutics Corporation’s Motion for

Leave to Amend Answer to Amended Complaint to Assert Counterclaims Against Plaintiff”

(“Defendant’s Motion”) (ECF No. 79). The matter has been fully briefed (ECF Nos. 84, 87). The

Court held an initial hearing on Defendant’s Motion on August 30, 2021. The Court held a

continuation of that hearing on October 18, 2021. For the reasons stated on the record at both

hearings, it is hereby ORDERED that:

       1) Defendant’s Motion is GRANTED. The Clerk of the Court is directed to docket

          Defendant’s “Amended Answer and Counterclaims to Plaintiff’s Complaint” (ECF No.

          79-2).

       2) Regarding the outstanding discovery disputes articulated in ECF Nos. 81, 90, 92, and

          98-1, Defense counsel is directed to monitor the docket sheet for resolution of

          Plaintiff’s counsel’s “Consent Motion to Withdraw as Attorney of Record.” If this

          motion is granted, Defense Counsel is directed to contact Plaintiff to resolve the

          outstanding discovery disputes outlined in ECF No. 98-1.
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Dated: October 18, 2021                    ___________/s/____________
                                           The Honorable Gina L. Simms
                                           United States Magistrate Judge




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